                                                                               Original
                                                                               20-cv-2116
                                                                               Chen, J.
                     UNITED STATES DISTRICT COURT                              Scanlon, M.J.
                     EASTERN DISTRICT OF NEW YORK



KEITH FERNANDEZ,


               Plaintiff, Pro Se,
               v.

CITY OF NEW YORK, NEW YORK CITY POLICE
DEPARTMENT, OFFICER ANGELO MARTINO,
OFFICER JONATHAN GALINDO-SANCHEZ;

WOODHULL MEDICAL & MENTAL
HEALTH CENTER, a New York City Hospital
Organization


              Defendants.

                                                                              FILED
                                                                      *
                                                                            IN CLERK'S OFFICE
                                                                      U.S. DISTRICT COURT E.O.N.Y.


                                                                      ►�r
                                                                            MAY O 6 2020       *
                                                                      BROOKLYN OFFICE

                                          COMPLAINT

      Plaintiff KEITH FERNANDEZ ("Fernandez" or the "Plaintiff') sues the Defendants,

CITY OF NEW YORK ( "City of New York"), NEW YORK CITY POLICE DEPARTMENT

("New York City Police Department" or "NYPD"), OFFICER ANGELO MARTINO ("Officer

Martino"), OFFICER JONATHAN GALINDO-SANCHEZ ("Officer Galindo-Sanchez") and

WOODHULL MEDICAL & MENTAL HEALTH CENTER ("Woodhull Medical Center").
                                        INTRODUCTION



       Plaintiff ICEITH FERNANDEZ hereby asserts the following claims against the

Defendants in the above-captioned action:


      (1)      Violation of42 U.S.C. §1983 for unlawful detention (False Arrest), in
               violation of the Fourth and Fourteenth Amendments;

      (2)      Abuse of Process;

      (3)     Deliberate Indifference, in violation of the Eighth Amendment;
      (4)     Intentional infliction of emotional distress;

      (5)     Negligent infliction of emotional distress.



                                  JURISDICTION AND VENUE


       1.     Jurisdiction arises under 28 U.S.C. §§ 1331,1343(a) and 1367(a).

      2.      Jurisdiction of this Court for state claims is authorized by F.R.Civ.P. 18(a) and

arises under the doctrine of pendent jurisdiction.

       3.     Plaintiff filed a Complaint of Police Misconduct & Witness Intimidation to the

Office of the Inspector General for the NYPD on 3/13/20 and has made every effort to address
all administrative remedies before the bringing of this action. Plaintiff notes that this Action is
filed in Federal Court, not New York State Court, and is a Federal Question under 42 U.S.C.
§1983 relating to violations of his 4'\ 8'^ and 14^ Amendment Rights. 42 U.S.C. §1983
provides for the unfettered right to sue local and state governments acting "under the color of
state law" and waives their right to immunity and requirement for a Notice of Claim when the
matter is a direct Federal Question. All state claims fall under the purview of F.R.Civ.P. 18(a).
                                            PARTIES



      4.      Plaintiff Fernandez is a 31 year-old man who resides in Kings County, NY. He

graduated Valedictorian of Trinity Preparatory School in 2006. He graduated from Harvard
University in 2010 with a Degree with Honors in Economics. After graduating from Harvard,
Fernandez worked for 4 years on Wall Street at leading Investment Banks and Private Equity
Firms, including Bank of America Merrill Lynch and KKR. After working at KKR,Fernandez
started several successful businesses including National Diagnostic Solutions LLC, winning the

Brillante Award from the National Society of Hispanic MBAs(NSHMBA)in 2015. In

December 2018, Fernandez graduated from Wharton Business School, the alma mater of
President Donald J. Trump, with a Masters of Business Administration(MBA)with a Major in
Finance. While at Wharton, Fernandez was a top student, being selected 3 consecutive times to

the Director's List placing in the top 10% of his Class. Additionally, he placed F'in his class of
-850 students for the Academic Excellence Fellowship over 2 consecutive semesters,

maintaining a 4.0 CPA and 6 A+s. Mr. Fernandez currently owns a financial and healthcare
consulting practice {See Fernandez Resume Exhibit I).
      5.      Defendant New York City Police Department or NYPD is the Police Organization

of the City of New York, responsible for conducting all police activities free of deliberate
discriminatory intent, racism, intimidation, excessive force or encouraged assault.
     6.       Defendants Officer Galindo-Sanchez and Officer Martino, were at all times
relevant to this action. Police Officers employed by the City of New York and the NYPD.
     7.       Defendant Woodhull Medical & Mental Health Center is a New York Licensed

 Hospital and Healthcare Organization, responsible for conducting all healthcare services free
  of deliberate discriminatory intent, racism, sexual harassment, intimidation, deliberate
  indifference and encouraged assault.

                        FA CTUAL ALLEGA TIONS AND BA CKGRO UNO


      8.       From September 2019 to April 2020,Plaintiff Fernandez resided in an apartment
building in Brooklyn, NY. Gradually over this time period, his Landlord began treating him with
escalating Tenant Harassment and Discrimination after being tipped-off by the NYPD that he
had filed a Federal Civil Rights Lawsuit against the Police.

      9.       The NYPD encouraged his Landlord to intimidate Fernandez as retaliation for

filing a Lawsuit against the Police and reporting Police Misconduct.
       10.     Given the retaliatory conduct by his Landlord, Fernandez filed Formal
Complaints of Tenant Harassment & Discrimination with Management on 2/26/20 & 3/13/20.
       11.     On 4/26/20, Fernandez was a victim of another Criminal Act in his apartment

building, which he believes was further Tenant Harassment by his Landlord.
       12.     Upon leaving his Apartment around noon on 4/26/20, Fernandez returned to find
that his apartment had been broken into and a -$1,500 Gold Harvard Class Ring had been stolen
from its case in clear view sitting in his living room. Fernandez was 100% certain that the ring
was in his apartment as he took it off earlier that morning and put it on his piano. He knew the
ring had been stolen while he was gone and was suspicious that his Landlord had committed this
Burglary as further retaliation for his Tenant Harassment Complaints.
       13.     Upon discovering the Felony Larceny on 4/26/20, he immediately filed another
Formal Complaint with his Landlord (See Landlord Felony Burglary Complaint Exhibit 2).
      14.      He also called the NYPD on 4/26/20 and reported the Larceny. The NYPD sent
Officer's Galindo-Sanchez and Martino to his Apartment to investigate (See Police Incident
Report Exhibit 3).

      15.      When Officer Galindo-Sanchez and Martino arrived they immediately began

intimidating and taunting Fernandez and did not take his Complaint seriously. Fernandez
believed the Officers were intimidating him as Direct Retaliation for the Federal Lawsuit he had
filed against the Police and for the Complaint he had filed with the NYPD OIG on 3/13/20
reporting Police Misconduct(See NYPD OIG Complaint Exhibit 4).
       16.     Fernandez believed the Officers wanted to "punish him"for exercising his legal

right to report Police Misconduct and "retaliate" against him for reporting such behavior.
      17.      Due to the strange and unethical behavior of Officer's Galindo-Sanchez and

Martino and their deliberate indifference towards his Larceny Complaint, Plaintiff Fernandez
asked the Officers:'Vnder the Penalty ofPerjury, were you tampered with before coming here?
Did you hear anything about me before coming here? Did anyone tell you about me and my
Lawsuit against the Cops? Are you intentionally trying to intimidate or retaliate against me?"
      18.      In response, the Officers looked nervous and both said:'Wo. We have no idea who
you are and we were not tipped offbefore coming here" The Plaintiff believes this was a Lie.
      19.      After the police report on 4/26/20, the Tenant Harassment only worsened against
the Plaintiff, boiling over into another Criminal Act on 4/30/20.
      20.      On 4/30/20, Fernandez left his apartment around 8pm and returned around 9pm to
find that once again, the door to his Apartment had been Illegally Accessed and the Security Bolt
had been tampered with propping his door open (See Pictures Complaint 5), obviously reflecting
another Burglary (See Landlord Email Complaint 5).
      21.      After discovering yet another Burglary, Fernandez went to the Doorman in his
Lobby to complain and only made the following statement:''This is a Felony Human Rights
Crime."


       22.     When reporting the Burglary, Fernandez did not scream. He did not shout. He did
not violently lunge at anyone. He made no violent threat. He had no weapon. He did not do
Anything Illegal. The only thing he said was:"This is a Felony Human Rights Crime."
      23.      Immediately after making this Complaint, Fernandez went back up to his
apartment and moments later 6 NYPD Officers and 2 Paramedics show up, including Officers
Galindo-Sanchez & Martino.

      24.      The Officers immediately started intimidating Fernandez. Fernandez asked them

"Why so many cops? Do you really need 8police to talk to me? Are you guys trying to Harass &
Intimidate me? Are you doing this to retaliate against mefor reporting Police Misconduct?"
      25.      Fernandez told them he made no violent threats, had no weapons, made no

aggressive lunges and broke no crimes. He told them the only thing he did was report the
Burglary Crime and the only thing he said was "This is a Felony Human Rights Crime." He told
them "Go Check the Surveillance Video" as he knew he was innocent.

      26.      The Police Officers intentionally did not listen to Fernandez or give appropriate
credence to his side of the story. Their goal was to incarcerate Fernandez as retaliation for his
Civil Rights Lawsuit and reports of Police Misconduct to the NYPD OIG. The truth didn't matter
to the Cops and Paramedics whatsoever.

      27.      Knowing they were going to frame him as Witness Intimidation, Fernandez
immediately started taking video on his personal Cell Phone of the incident to prove he was not
acting violently, screaming or doing anything wrong. He was just exercising his legal right to
report another Crime.

      28.       Within seconds, two Paramedics who had been tipped-off by the Police
approached Fernandez and motioned to Officer Martino to put him in Cuffs. The Paramedics
didn't even do a Physical Examination and barely asked Keith any Questions. The decision to
commit Keith had been "Framed-Up" and "Decided Beforehand." The truth didn't matter to the
Police and Paramedics. This was their way of retaliating and witness intimidating him.

      29.      Furthering their extreme behavior and the notion that the Arrest was "Framed"
and "Covered-Up," Fernandez returned to his apartment the next day to find that the Police had
Intentionally Deleted the Video of the Arrest from his Personal Cell Phone, committing N.Y.
Penal Law § 215.40(2)- Felony Tampering with Evidence. He knew the video was saved to his
Cell Phone as he had taken multiple Clips and saw them saved. When he returned and saw
videos deleted on his phone, he then knew that the Police had intentionally destroyed them after
his arrest to prevent the video from being used as Evidence in Court.
      30.      Upon being taken to and arriving at Woodhull Medical Center, the Cops kept
intimidating and making fun of Fernandez. This suggested to the Plaintiff that the Hospital had
been tipped off and were going to attempt to frame and harass him.
      31.      When he get to the Hospital, it looked suspicious that Fernandez was brought in.
Most of the other patients were Schizophrenic, homeless, extreme drug addicts, mumbling to
themselves, freaking out, violently lunging or clearly extremely mentally disturbed.
      32.      Plaintiff Fernandez was just sitting there quietly remaining calm.
      33.      When he arrived to the Hospital, the Staff refused to give him food, blankets or

toiletries. He had to ask several times even to get assigned a room to sleep.
       34.      That night, when Fernandez was lying in his cell, a Hospital Employee woke him
up, turned on the lights in his room and stated "You're Getting Murdered."
       35.      When Fernandez woke up the next morning on 5/1/20, with no food in his
stomach or water to drink, the Hospital Staff immediately asked him to give blood.
       36.      When they went to insert the Needle, they did it negligently and stuck the Needle
in the wrong vein (See Picture Evidence 6: Negligent Needle Insert). They should of stuck
Fernandez in the Larger Vein, but instead stuck him in a small vein below the proper insertion
point. It is clearly noticeable in the picture evidence that they hit a smaller, less dilated vein.
      37.       This negligent needle insert caused Femandez immense pain and unnecessary
suffering.

      38.      Due to the pain of the negligent needle insert, Fernandez immediately suffered a
Vasovagal Syncope and passed out falling to the ground.
      39.      Such Negligence & Psychiatric Harassment put Femandez at risk for Permanent
Brain Damage due to the restriction of oxygen to his brain froth the Syncope. He was dehydrated
and scared from being abused by the Police and Hospital Staff and this only worsened his
condition as his blood was drawn in a negligent manner.

      40.      Immediately after suffering the Syncope, Plaintiff Fernandez went to sit in the
Common Area of the Psych Ward.

      41.      Within minutes, a Violent Patient approached Femandez while he was sitting

(without being provoked whatsoever) and made menacing lunges and threats to him. The Violent
Patient told Femandez"/ hate you Pussy White Boy. Give me your Fucking Chain."
      42.      Femandez was wearing no Chain and had no idea who told him he had a Chain.
      43.      The entire time the Violent Patient was making Threats to Fernandez, the entire
Hospital Staff were watching the entire incident and did nothing. The Staff laughed at Fernandez
and intentionally made fun of him,suggesting they had been tampered with by the Police.
      44.      Additionally, the Hospital Staff intentionally brought the Violent Patient out
of his cell every time Fernandez entered the Common Area and let the Patient chase
Fernandez around the Hospital Wing.The Staff were laughing at Fernandez,called him a
"Pussy White-boy" and thought it was funny. They let the Violent Patient out on purpose
to assault Fernandez. This was most likely due to the influence of the Police who wanted to

"punish" Fernandez for filing a Police Misconduct Lawsuit and Complaint to the OIG.
      45.      This Extreme Behavior by the Hospital Staff suggested that they were

intentionally letting Fernandez get assaulted, encouraged it, did not properly protect Fernandez
and that they had been tampered with by the Police and that this was Retaliation.
      46.      The Threats and Menacing by the Violent Patient finally boiled over and the

Patient backed Fernandez to a wall and then struck him in the Left Torso and Arm.

      47.      The entire time, a dozen of the Hospital Staff Employees were watching and let it

happen. Only after Fernandez screamed 'T/iw is A Felony Crime" did the Staff come in and
intervene to subdue the Violent Patient.

      48.      The Violent Patient committed Felony 2"^^ Degree Assault under NY Penal Code

as the Assault occurred "while being held in correctional facility," and with Aggravated
Terroristic Threats and Menacing.

      49.      The entire Assault was captured on Surveillance Video and is easily provable.
Fernandez filled out a Police Report in the Hospital signifying he wants to Press Charges(See
Hospital Police Report Exhibit 7).
      50.      If Charges are not filed, this is Obstruction of Justice with an intent to cover-up an
easily probable Crime as it was all captured on the Hospital Surveillance Camera and over 20
people witnessed the Assault, Menacing & Terroristic Threats.
      51.      Plaintiff Fernandez was then seen by the Hospital Physicians on 5/1/20. Given his
educational background, impressive work accomplishments, excellent physical health and the
credibility of his story that he was having ongoing problems with his Landlord, the Physicians let
Fernandez out of the Facility on 5/1/20 and did not Formally Diagnose him with any Psychiatric
Disorder.


      52.      As will be evidenced by the Surveillance Video, Fernandez was acting completely
non-violent and calm the entire time. Even when provoked by violent patients, Fernandez

maintained a calm and non-violent demeanor. Additionally, Fernandez was displaying no bi

polar or manic behavior, was not talking to himself or exhibiting any schizophrenic mannerisms,
was not exhibiting any aggressive behavior and was behaving in a calm and relaxed way.
      53.      After being released from the Hospital, Fernandez reported the Criminal Felony
Witness Intimidation and Evidence Tampering to the U.S. Attorney of the Eastern District of
New York and the Brooklyn District Attorney (See Complaint Letter iSc Report Exhibit 8)

                                   COUNTI-FALSE ARREST



   54.         This Count is specifically against Defendant's City of New York, New York City
Police Department, Officer Galindo-Sanchez and Officer Martino.
   55.         This Count is specifically in reference to Paragraphs 15 - 32 of this Complaint.
   56.         With no direct evidence of violent threats, aggressive lunging, shouting,
screaming, threats of imminent serious bodily injury or suicidal intent, with no direct verbal
confessions of imminent serious bodily injury or suicidal intent and with no direct observations
of violence, threats of violence or aggressive lunges, Plaintiff Fernandez never satisfied the
criteria to be arrested and involuntarily detained. Thus, his subsequent Arrest and Incarceration
were predicated on "Framed" and "Manipulated Evidence and thus False themselves.
    57.         After finding his Apartment broken into, the only thing Plaintiff Fernandez said
that night to management was:"This is a Felony Human Rights Crime. Upon arriving to the
scene, the Officers exhibited Deliberate Indifference to the Burglary and did not properly address
the Plaintiffs logical and truthful concerns. They did not seek to review the Surveillance Video
to find the evidence necessary to arrest the Plaintiff, they did not listen to the Plaintiffs logical
counter-points and they deliberately paid no attention to the Plaintiffs side of the story.
    58.        In fact, the Defendants were actually complicit and working with management in
framing Plaintiff Fernandez and did so to "retaliate" and "punish" the Plaintiff for reporting
Police Misconduct. This is why they did it. To retaliate against the Plaintiff.
   59.         The Paramedics exhibited deliberate negligence and did not do a proper physical

examination of the Plaintiff. They barely asked him any questions before motioning to the

Arresting Officers to detain the Plaintiff, which they did with excessive force intentionally.
   60.         When arresting the Plaintiff, the Officers showed excessive force and pushed the
Plaintiff to the wall despite him making no attempt to resist and not being violent whatsoever.
They intentionally had 4 cops push him to the wall and violently arrest him to "retaliate" and
"punish" him for exercising his legal right to report Police Misconduct
   61.         The Defendants negligently and intentionally ignored any inconsistencies to
further their ulterior motive of falsely arresting and imprisoning Plaintiff Fernandez as they
wanted to cause the Plaintiff as much physical, emotional and financial distress as possible.
    62.        Due to these actions, Plaintiff Fernandez suffered from deprivation of freedom
and liberty, physical detention and loss of time, extreme reputational damage to his personal
business reputation and his federal lawsuit, loss of future earnings and earnings capacity in New
York City, extreme humiliation, psychological trauma, intentional and negligent infliction of
emotional distress, a medical bill from Woodhull Hospital and negligent physical abuse,
including an intentional criminal assault and a vasovagal syncope while drawing blood risking
permanent brain damage and other general and special damages.

                               COUNT II- ABUSE OF PROCESS



    63.        This Count is specifically against Defendant's City of New York, New York City
Police Department, Officer Galindo-Sanchez, Officer Martino and Woodhull Medical Center.
   64.         This Count is in reference to Paragraphs 16-50 of this Complaint.

   65.         The above-mentioned Defendants, in tight coercion with one another, grossly
abused their positions of authority as Law Enforcement Officers, Paramedics and Healthcare
Officials and their influence in the legal system to severely frame and injure Fernandez,
intentionally manipulating evidence and grossly exaggerating Plaintiff Fernandez s condition in
order to falsely arrest him and detain him in a New York Hospital, solely for the purpose of
"retaliating" against him for exercising his legal right to report Police Misconduct and to
sabotage his other Federal Whistle-Blower Suit and the potential monetary reward.
   66.         With the color of malice and extreme bias, all of the above-mentioned Defendants
possessed ulterior purposes and motives underlying his arrest and the manipulation of the
involuntary detainment process, including retaliating against Plaintiff Fernandez for filing a
Lawsuit against the Police and reporting Misconduct, intentionally sabotaging Plaintiff
Fernandez's other Federal Whistle-Blower Lawsuit and the resultant monetary reward potentially
generated and maliciously seeking revenge against Plaintiff Fernandez for causing Narcissistic
Injury to their Egos and sense of Pride. They wanted to "dominate" and "punish" Fernandez.
   67.         Additionally, the Defendants didn't stop their malicious abuse of process after
Plaintiff Fernandez was detained, but actually exacerbated and escalated it to cause him physical
damage and extreme emotional distress. Defendants intentionally and unnecessarily used
excessive force when arresting the Plaintiff, having 4 officers violently push him to the wall
despite him not resisting whatsoever. They went to extreme lengths during Plaintiff Fernandez's
imprisonment to actively seek to extend Plaintiff Fernandez's incarceration, racially harass and
abuse him by calling him a "Pussy White-Boy," negligently assault him by intentionally
inserting a Needle into the wrong vein when drawing Blood causing him a Syncope and
intentionally allowing a Violent Patient to taunt him, menace him and finally assault him.
   68.         Due to these actions, Plaintiff Fernandez suffered from deprivation of freedom

and liberty, physical detention and loss of time, extreme reputational damage to his professional
reputation. Company and his Whistle-Blower Lawsuit, loss of future earnings and earnings
capacity in the New York finance industry, extreme humiliation, psychological trauma,
intentional and negligent infliction of emotional distress, a medical bill from Woodhull and
negligent physical abuse such as a vasovagal syncope while drawing blood risking permanent
brain damage, an intentional criminal assault that occurred and other general and special
damages.


   rnilNT JJJ- DELIBERATE INDIFFERENCE(VIOLATION OF THE 8"^ AMENDMENT)

   69.         This Count is specifically against Woodhull Medical Center, staff and employees.
   70.         This Count is in reference to Paragraphs 32-54 of this Complaint.
    71.        Defendant Woodhull Medical Center, including Nurses and Techs showed
intentional and deliberate indifference to Plaintiff Fernandez's complaints that his civil and
disability rights were being violated and that he was at great risk of additional psychiatric
trauma, physical abuse and assault, which did indeed occur.
    72.         As established under Farmer v. Brennan,511 U.S. 825, an entity can be found

liable under the Eighth Amendment for denying an inmate humane conditions if"the official
knows of and disregards of excessive risk to inmate health or safety."
    73.        Woodhull Medical Center Staff called the Plaintiff a "Pussy White-Boy" and

intentionally showed Deliberate Indifference to an assault that occurred against him while
detained in their Facility. The Violent Patient that assaulted the Plaintiff was threatening him for
several minutes before finally assaulting him. The Staff were watching these threats take place
and did nothing to stop the assault. They were just sitting and watching with smirks on their
faces even as the Violent Patient backed the Plaintiff to the wall and finally assaulted him. Only

when the Plaintiff screamed:'This is A Felony Crime" did the Staff intervene as they were

scared they could lose their jobs or face discipline.
   74.         Additionally, even after the assault occurred, the further deliberate and
sociopathic actions of the Staff revealed their desire to see Plaintiff Fernandez intimidated and
assaulted again. As the evidence will show,even after the assault occurred, the Staff went to
extreme lengths to intentionally allow more threats to occur by the same Violent Patient by
intentionally bringing the patient out of solitary confinement every time Fernandez entered the
Common Area of the facility to allow him to further Violently Threaten Fernandez. Even after
the assault occurred, the Staff intentionally brought the Violent Patient out of his cell and
allowed him to chase Fernandez around the Hospital Floor and make further terroristic threats of
violence against him.

    75.         The Staff intentionally encouraged the assault and the threats against the Plaintiff,
most likely due to the influence and tampering by the NYPD.The Staff showed blatant disregard
for the safety of the Plaintiff and intentionally put his life in danger.
    76.         Due to these actions, Plaintiff Fernandez suffered from a physical assault, a

vasovagal syncope from a negligent needle insert that put him at risk for brain damage, extended
and unwarranted harassment, extreme psychological trauma, intentional and negligent infliction

of emotional distress, inadequate and sub-standard healthcare delivery, psychiatric abuse and
unneeded deprivation of freedom and liberty.

            COUNT IV-INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


   77.          This Count is specifically against Defendant's City of New York, New York City
Police Department, Officer Galindo-Sanchez and Officer Martino.
   78.         This Count is in reference to Paragraphs 15 - 32 of this Complaint.

   79.          Defendants engaged in, instigated and directed a course of extreme and

outrageous conduct with the intention of causing, or reckless disregard of the probability of
causing, extreme emotional distress to the Plaintiff.
   80.         This behavior included intimidating Plaintiff Fernandez, deliberately ignoring his
complaints of Felony Crimes committed against him,"framing" and falsely arresting Plaintiff
Fernandez and intentionally arresting him with excessive force.

   81.          All of this was done to "retaliate" against Plaintiff Fernandez for exercising his
legal right to report Police Misconduct, to further sabotage his Whistle-Blower Lawsuit and to
"punish" and "seek revenge" against Plaintiff Fernandez for the Narcissistic Injury he caused
their Egos and sense of Pride.

    82.        As a result of the Defendant's malicious, highly-coordinated and outrageous
treatment of the Plaintiff, the Plaintiff suffered physical damages,including a vasovagal syncope
and assault, psychiatric abuse, extreme humiliation, public shaming, extreme reputational
damage, extreme business damages and severe emotional distress and psychological trauma.

              COUNT V- NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS


    83.        This Count is specifically against Defendant's City of New York, New York City
Police Department, Officer Galindo-Sanchez and Officer Martino.
    84.        This Count is in reference to Paragraphs 15 - 32 of this Complaint.

    85.        Defendants have a duty to ensure all court proceedings and police activities are
free of malicious intent, discrimination, hostility and retaliatory behavior. Defendants, in failing
to adequately supervise, consider, investigate and alter their behavior, subjected the Plaintiff to
suffering additional severe and un-needed humiliation and extreme emotional distress.
   86.         As a result of the Defendant's malicious, highly-coordinated and outrageous
treatment of the Plaintiff, the Plaintiff suffered physical damages,including a vasovagal syncope
and assault, psychiatric abuse, extreme humiliation, public shaming, extreme reputational and
business damages and severe emotional distress and psychological trauma.

            COUNT VI-INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    37         This Count is specifically against Woodhull Medical Center, staff and employees.

    88         This Count is in reference to Paragraphs 31 -52 of this Complaint.
    89.         Defendants engaged in, instigated and directed a course of extreme and
outrageous conduct with the intention of causing, or reckless disregard of the probability of
causing, extreme emotional distress to the Plaintiff.
    90.         This outrageous behavior included intentionally or negligently puncturing the
wrong, little vein when drawing blood from Fernandez to cause him unneeded pain and
suffering, causing the Plaintiff to suffer Vasovagal Syncope which put him at risk for permanent
brain damage and a slip-and-fall accident.

    91.         This outrageous behavior included taunting Plaintiff Femandez, saying he was
"getting murdered" and racially discriminating against him calling him a "Pussy White-Boy."
    92.        This outrageous behavior included intentionally allowing a Violent Patient to
assault Plaintiff Femandez in the facility, then intentionally bringing out the same patient
whenever he entered the Common Area and allowing the patient to further violently threaten him

and chase him around the Facility floor after the assault occurred.

   93.         As a result of the Defendant's malicious, highly-coordinated and outrageous

treatment of the Plaintiff, the Plaintiff suffered physical damages, including a vasovagal syncope

and criminal assault, psychiatric abuse, extreme humiliation, public shaming, extreme
reputational damage and severe emotional distress and psychological trauma.

             COUNT VII- NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

   94          This Count is specifically against Woodhull Medical Center, staff and employees.

   95.         This Count is in reference to Paragraphs 31 - 52 of this Complaint.

   96.         Defendants have a duty to ensure all healthcare and mental health proceedings are
free of malicious intent, deliberate indifference, discrimination, hostility and retaliatory behavior.
Defendants, in failing to adequately supervise, consider, investigate and alter their behavior.
subjected the Plaintiff to suffering additional severe and un-needed humiliation and extreme
emotional distress.

   97.          As a result of the Defendant's malicious, highly-coordinated and outrageous

treatment of the Plaintiff, the Plaintiff suffered physical damages, including a vasovagal syncope,
psychiatric abuse, extreme humiliation, public shaming, extreme reputational damage and severe
emotional distress and psychological trauma.




                                       PRAYER FOR RELIEF



WHEREFORE,Plaintiff prays for relief as follows:

   1. Award Plaintiff compensatory damages, both general and special, of$7,469,750 as
         calculated in Exhibit 9: Estimate of Compensatory Damages. The compensatory damages

         include and are not limited to extreme physical abuse and criminal assault, irreparable

         financial and reputational damages, irreparable damages to client relationships and
         business contracts, irreparable loss of future earnings potential in New York for
         individuals graduating at the top of their class with elite Harvard-Wharton pedigrees in
         the lucrative Private Equity and Hedge Fund industry, a material probability of
         irreparable damages to Plaintiff Femandez's Other Whistle-Blower Litigation, emotional
         pain and suffering, psychological trauma, medical bills, costs related to legal services and
         any other compensatory damage as permitted by law and according to proof at trial,
   2. Award Plaintiff exemplary and punitive damages of $14,939,500(or 2x the
         compensatory damages)due to the extreme, sustained, pre-meditated and malicious
   nature of the Defendants actions towards Plaintiff Fernandez, their impact on the integrity
   of the overall law enforcement, mental health and legal system in America and as a way

   to deter future extreme abuse of process in the legal system;

3. Award costs of suits pursuant to 42 U.S.C. § § 1920 and 1988; and,

4. Award such other and further legal and equitable relief that this Court deems necessary,

   just and proper.




                                     JURY DEMAND



   Plaintiff hereby requests a trial by Jury.

   Dated: May 5, 2020             Respectfully Submitted;




                                            BY: sZ.

                                            Pro Se, Plaintiff
                                            69 Montgomery St #331
                                            Jersey City, NJ 07302
                                            Email: kfernan88@gmail.com
                     EXHIBIT 1: FERNANDEZ RESUME
                                              KErTH FERNANDEZ
                               P.O. Box 331 Jmay Cit>', K7 07303 Btblenutdtsw5.5'^3matl.com
                                                       EDUCATION

THE TlHARrON SCHOOL,UXnTRSm'OF PENNS\XVA>X\                                                                    PUlsddpha,PA
Abuser ofBtauteu AdafbdstraooH Candidats;Finance                                                               2014;2017-2018
•                 tWwQg tn      Fall    7^ Spzo^ 2018 & Fall 2018 Diractor's list, placing in &g Top 10% ofdie Glass
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Founder and ChiefExecntiTe Officer                                                                          2014-2017
• Founded National Diasnostic Solutions LLC(NDS).a healthrare start-op fbcised on dtagnostic imajng,and acted as CEO
     responsible &r ovwseeing strategic initiative, main&mmg client lelationsh^ and dnectmg optaatirin^
• Created rapid          growth In* negotiatiag exclusive nnaging contracts with large healthcare organizations
• RficipiMit ofdie 2015 Brillante Award for Entrepreneunal Excelloice from die National Societv- ofHispanic MBA's
• Selected as a Top 5 Start-Up hy Brigiit House Rsional Busing Awank and featured on Bii^House K^works
• Partnered with             Congressman Ste|dianie Ahnphv* as a 2016 Guest Lecturer in Coipciate Fmatce at Rnlhns College
KOHLBERC iCRAMS ROBERTS(KKR)Private Equi^ Firm Managing $J4S SB tn.issets                                       New York,NY
Associate                                                                                                           2012-2014
• Pisfenned public and private fimdamaxtal equitj' and credit anah'sis, due dihgeice and financial naodeling
• Chosen aa Lead Aisocute for the KKR Strategic Plan, working directly with Senior Manaoement on overall firm itrateg}*
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     - Associate Bi^pcrting deal          indnSng conducting due dihgoice, building financial model aid executing capital raise
     - Worked dire^ with FDC executive team to crease investment documents and financing presentations
     - Structured and executed eqartv* syndication process and worked on ev^hgtmg and exsciitinp credit transactums
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  - Plx^'ed an integral role psfbnning transaction due diligence, building financial model and develcptng cayital structure
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bank of A3dERICA AlERRILL LYNCH LeveraguiFinance Imestment Banking Qroup                                        New York,NY
SoQor Analyst                                                                                                      2011-2012
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     - Cr«ted transaction modd and                documents,including road show presentations and ClXfs
                    EXHIBIT 2:                                   Burglary Complaint
Report of Felony Burglary & Larceny
Keith Fernandez <kfernan88@gmatl.com>                                                             Sun, Apr 26.2020 at 7:01 PM
To:"1S1 (One South First)" <1S1management@twotreesny.com>. One South First Leasing
<Onesouthfirst@twotrBesny.com>

 Dear One South 1st Management,

 I wanted to make you aware of a Very Serious Matter that happened today at my apartment 29E.
 Earlier this afternoon. I left my apartment to run some errands. Upon returning to my apartment, I found that a Very
 Expensive Solid Gold Harvard Ring that was sitting on my Piano in the Case was Stolen from my apartment.
  I am 100% Certain that the Solid Gold Ring valued at approx. $1,500 was Stolen earlier this afternoon from my
 Apartment. The Ring was sitting Inside the Case and was stolen out of the case after I left my apartment around Noon.
 The case and ring were sitting on my Piano In the middle of the apartment In Clear View.
  This is a Very Serious Matter. This Is Felony Burglary and Larceny and could result in Jail Time.
  I would like to Request an Unadulterated or Tampered Surveillance Video of the Hallway today so that we can determine
  who the Burglar was. This should be Extremely Easy to provide. The Burglary ^% happened today earlier this
  afternoon. I had the Ring this morning, put it in my case, left my apartment, and now it Is Stolen.
  Can you please advise me on how we can investigate this issue? Can you please provide me the Unadulterated
  Surveillance footage for today?

  As I hope you know. It Is a Crime to impede the Investgation of a Felony Burglary. It Is also a crime to Perjure or Attempt
  to Cover Up a Felony Burglary.

  Can you please advise me on this situation as soon as possible?
EXHIBIT 3: Gallndo-Sanchez Police Incident Report

           INQDEtfT INFORMATION SUP
           PD 301-164(Rev.07-15)


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We hope that your business with us washandled satisfactorily.Your particu a          Report
Complaint Report                                Acddent          __                               TUnei.ii
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 Reported to:jlSl          iCL                           J-)^7 pate ofoccurrence:,
                                                     (shields)
                  (Rank)     IMwne)

  Location of Occurrence

  Cl'lme
       EXHIBIT 4: 3/13/20 Complaint Filed w/ NYPD-OIG

To Submit

Keith Fernandez <kfeman88@gmail.com>                                          Mar 13,2020 at 10:31 AM
To: Kath Fernandez <kfeman88^rT«il.com>

 I am being Criminally Stalked and Surveilled by the NYPD in Brooklyn with the intent of
 Intimidating and Dissuading me from Litigating A Federal Civil Rights Lawsuit against the
 police. In this way, the NYPD are systematically and corruptly engaging In Extreme Felony
 Stalking and Felony Witness Tampering against Keith Fernandez. They do this because they
 think they can get away with it. It is Criminal Abuse of Power & Corruption. In particular, I
 was harassed by Squad Car 425617 who followed me around Brooklyn on 3/12/20 buzzing
 his lights to Intimidate me even though I was breaking no laws. He stalked me outside an
 eating establishment I was at. Additionally, that very same morning, 2 NYPD traffic cops
 Stalked Me in the City Mart grocery store while I was buying food for my stomach. They
 followed me around everywhere I went. They also Defamed me to the Staff of the grocery
 store telling them they shouldn't Sell Me Food for my stomach because I was a "Criminal"
 and "Severely Mentally III." They are Committing Extreme Defamation to Feloniously Witness
 Intimidate violating 18 U.S. Code 1512. Additionally, members of the NYPD and the NY Fire
 Department are Continuously Criminally Defaming me to my Land-Lord and eating
 establishments. Fire Truck 221 and 229 continuously Stalk Me around Williamsburg to
 Criminally Witness Tamper. They tell All Eating Establishments I visit that I am (1) Criminally
 Mentally III,(2)Taking Illegal Steroids and (3) Committing Financial Crimes with NO
 CHARGES or CONVICTIONS relating to such. They also tell Eating Establishments to
 tamper with my food, serve me Raw Food and intentionally try to give me a Food Borne
 Illness, effectively Criminally Assaulting me. They leave DEAD RATS outside bars I visit to
 Feloniously Witness Intimidate. The eating establishments where the Criminal Defamation
 and Witness Tampering by the Police occur include Croxley's Bar & Grill, Peter Lugers,
  Barano, Two Hands, Starbucks and many others. It is SEVERELY CRIMINAL and a Severe
  Human Rights Violation what they are doing to Keith Femandez. Additionally, officials from
  the NYPD and NY Fire Department are Stalking me in my Apartment Building to Intimidate
  me for reporting Police Misconduct. Fire Department and Police Officials Criminally Stalk me
  and wait for me to arrive to my building. They then Surround and Body Me Up in Elevators to
  Criminally Stalk me, intimidate me and witness tamper. In this way, the fsJYPD and NY Fire
  Department are engaging in Blatant Federal Witness Tampering to dissuade me from
  litigating my Civil Rights Lawsuit. Instead of Stalking Plaintiff Fernandez, the NYPD and NY
  Fire Department should do their job and fight crime and put out fires. Not Criminally Stalk
  and Defame Whistle Blower Fernandez. This is a Blatant Waste of Government Resources.
  All of this behavior is BEING DOCUMENTED. If it continues, Plaintiff Fernandez will file a
  Lawsuit against the NYPD and NY Fire Department and will seek Millions of Dollars in
  damages due to the adverse effect they have on his Federal Whistle Blower Lawsuit.
         EXHIBIT 5:4/30/20 Landlord Burglary Complaint

Report of Felony Burglary & Larceny
Keith Fernandez <kfernan88@gmail.com>                                                                 Fri. May 1,2020 at 3:18 PM
To: Tebbo, Abir" <atebbo@lwotreesny.ccm>
Cc: "1S1 (One South First)" <131 management@twotreesny.com>, 181 Managers <1S1managers@twotreesny.com>, One
South First Leasing <Onesouthfirst@twotreesny.com>

 Another Breaking & Entering

  To whom it may concern:

  I wanted to report another Serious Crime & Illegal Breaking & Entering into my apartment last night 4/30/20 and potential
 ongoing Tenant Harassment and Framing.

 A little Ijefore 8pm last night. I left my apartment to transport personal items to my vehicle parked nearby.

  Upon returning around 9pm, I noticed that the Door to my apartment was propped open and the Manual Lock on the Door
  was turned to the right exposing my personnel belongings and leaving my door open.

  Obviously, while I was gone for 30 minutes, someone again Entered My Apartment Illegally constituting another Criminal
  Breaking & Entering under New York Penal Code. This could of potentially been done to Set Me Up and Frame Me. When
  I discovers this, all I said was "This is a Felony Human Rights Crime." Thats it. No Aggressive Lunges. No Violent
  Threats. No Weapon Threats.

  This matter is being forward for investigation to the FBI and DOJ.

  Please see pictures Ijelow of the lock and door propped open. I know with 100% Factual Certainty that I shut the door
  and I never left that lock turned to the right last night. It was my belief that this was done to Frame Me.

  Re-gar-ds,
  Fernandez
                                 EXHIBIT 6: 4/30/20 Negligent Needle Stick in
                                        Wrong Vein Causing Syncope & Bruising



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     EXHIBIT 7: Assault Hospital Police Report
                                                   HOSPITAl POLICE

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     EXHIBIT 8: Crime Report of Police Misconduct &
             Federal Witness Tampering Made to D.A.


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                                           Civilian Crime Report
          the U.S. AttomcN's OfTice represents the Government in legal proceedings and works closely with investigative agencies
including the FBI. The Criminal Division of the United States Attome>'s Ofllce is charged with enforcing the federal criminal
laws within the Fasiem District of New York, which encon^asses three ofthe honnighs of New York City (Brooklyn. Queens and
Staten Island), and both suburban counties on Long Island (Nassau and Suffolk County ).

           Person Completing This Report;                              Person Entity Being Complained About:

           Keith Fernandez                                             NYPD, Paramedics
           Name                                                        Name


           One South 1st Street                                        211 Union Ave.
          .Address                                                     Addrcs*


           Apt 29E
           Address(Line 21                                             Address (Line 2 i

           Brooklyn, NY                     11249                      Brooklyn, NY                    11211
           Cuy. State                       ^-ip                       City, Slate                      Zip

           King's                 4074930454                           King's                 7^89635311
           County                  Phone                               Counts                  Phone



        Although the volume of information w e receive from concerned member-s of the public prevents as from responding
individually to every Report, he as.sured that we w ill carefully consider the information you have provided us to determine
whether there is a matter for this Office to investigate. If we determine that your Report raises a maner w ithin the
jurisdiction of this Office to investigate and that further information from you Is necessary for our investigation, you will be
contacted. This Office does not restjlve individual consumer complaints.

N.ATLRF. OF ALLEGED CRIM INAL VIOL.ATIONtS):

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 I     Icbild Pornocraphv Exploitalion       Dlortgage Bank Credit Card ATM Fraud & Idcntitv Theft
                                                                        , Federal Witness Intimidation & Police Misconduct
 D ccuritics Fraud                           |y Mthcr Iplcasc explain)

     Docs this Report Penain to an Ongoing Case?                       r^cs            [3»             [ZKot Sure
     If Yes. Plea-se Provide the Follow ing Ca.se Infomiation:         Cannot Comment on Federal Case

     Case Title and Docket Number (if know n):
                                                    Cannot Comment on Federal Case
       Please clearly describe the violation of federal criminal laws that you would like to bring to our attention. Include as
much information as possible, including the dates, places and nature of incident, and contact information for any w itnesses
(do not send onginai documents):                   making my iast Criminal Complaint of Federal Witness
Intimidation & Retaliation to your Office, the Harassment & Intimidation has only Intensified.
Local Agents are violating 18 U.S.C. Codes 1512 & 1513, are violating 42 U.S.C 1983, are
Intentionally Destroying Evidence & Covering-up Their Crimes & are Committing Obstruction.
EXHIBIT 8: Crime Report of Police Misconduct &
    Federal Witness Tampering Made to D.A.

                                 Keith Fernandez
                           One South First St., Apt 29E
                                Brooklyn, NY 11249

 Dated:5/2/2020

 To The Brooklyn District Attorney:


       I wanted to make your Office aware of some Extreme and Continuing
 Federal Witness Tampering & Intimidation that is occurring to me as Direct
 Retaliation for being a Federal Whistleblower & Reporting Police Misconduct and
 Intimidation by the NYPD. This is a follow-up letter to my letter sent to you on
 4/24/20. Thb Extreme Witness intimidation has only Intensified and Worsened
 since reporting these violatiortt to your Office on 4/24/20.
       Such Flagrant Witness Intimidation Behavior by the NyPD boiled over into a
 Fta^ant Felony Incidents on 4/26/20,4/30/20 and 5/1/20 resulting in Multiple
 Felony Crimes(not committed by the Plaintiff) violating the following:
          1. N.Y. Penal Law § 155.30 - Felony Grand Larceny
          2. N.Y. Penal Law § 140.20 - Felony Burglary
          3. N.Y. Penal Law § 215.40(2)- Felony Tampering with Evidence
          4. N.Y. Penal Law § 120.05 - Felony Assault in the Second Degree
          5. 42 U.S.C. §1983 - Unlawful Detention and Confinement
          6. 18 U.S. Code §§ 1501 - 1521- Obstruction of Justice
          7. 18 U.S. Code § 1512- Felony Witness Tampering
          8. 18 U.5. Code § 1513- Retaliation against a Federal Witness

       Immediately after reporting the Extreme Witness Tampering Behavior to
 your Office on 4/24/20,1 was further Retaliated Against.
       On 4/26/20,1 left my apartment around noon and returned to find that my
 apartment had been Broken Into and my Expensive "^1,500 Solid Gold Harvard
 Qass Ring had been stolen from my apartment- This resulted in Police Report
 being filed (See Incident Information Slip) and a Complaint being filed with my
 Land-Lord (See Email Complaint). The NYPD Officers Galindo & Martino (aka
 "GaUndo Martina")intentionally did not take my Complaint seriously and tried to
 cover up the Larceny & Burglary. They intimidated me and wrote "Galindo
EXHIBIT 8; Crime Report of Police Misconduct &
    Federal Witness Tampering Made to D.A.

 Sanchez" or "Got Sanchezed" on the Report, a Disgusting Sexual & Racist Taunt.
 (See Information Slip). When I asked if they had been Tampered with or if they
 knew about my Complaint of Harassment to the NYPD OIG,they Perjured and said
 "No." They seemed nervous as they knew this was a Complete Lie.

       On 4/30/20, 1 left my apartment around 8pm and returned around 9pm to
 find that once again,the Door to my Apartment had been Illegally Accessed and
 the Security Bolt had been tampered with propping my door open (See Pictures),
 obviously reflecting another Burglary(See Email Complaint).

       After discovering yet another Burglary, I went to my Landlord to complain
 and only made the following statement;"This is a Felony Human Rights Crime." I
 did not Scream. I did not Shout. I did not Violently Lunge at anyone. I made No
 Violent Threat. I had No Weapon. I did not do Anything Illegal whatsoever. The
 only thing I said was; "This is a Felony Human Rights Crime." I want to Subpoena
 the Video Surveillance from my Landlord to Ptxive This and am considering
 taking a Voluntary Lie Detector Test as 1 am KMX Telling the Truth.

       After making this Complaint, I go back up to my apartment and moments
 later 6 NYPD Officers and 2 Paramedics show up, including Officers Galindo
 Martina. They immediately start intimidating me. I ask them "Why so many cops?
 Do you really need 8 police to talk to me? Are you guys trying to Harass &
 Intimidate me?" I told them I made No Violent Threats. I told them the only thing
 I said was "This is a Felony Human Rights Crime." I told them "Go Check the
 Surveillance Video." They intentionally did not listen. Their goal was to
 Incarcerate Me and the Truth didn't matter whatsoever.

       Knowing they were going to Frame Me as Witness Intimidation, I
 immediately started taking video on my personal Cell Phone of the incident to
 prove I was not acting violently, screaming or do anything wrong. I was just
 reporting another Crime against me. Within minutes, the Paramedics approached
 me and put me in Cuffs. They said I needed to be involuntarily committed. The
 Paramedics didn't even do a Physical Examination and barely asked Keith any
 Questions. The decision to Commit Keith had been Framed Up and Completely
 Decided Beforehand. The Truth Didn't Matter. This was their Retaliation.
EXHIBIT 8: Crime Report of Poiice Misconduct &
   Federal Witness Tampering Made to D.A.

        Furthering their extreme behavior and the notion that the Arrest was
 ""Framed" and ""Covered-Up," I return to my apartment the next day and see that
 the Police had int^ionatty Deletetf the Video of the Arrest freoi ifvy Personal
 Cell Phcme, committing N.Y. Penal Law § 215.40(2)- Felonry Tampering with
 Evidence. I want to subpoena the Body Cam Footage of the Arrest from the NYPO
 to prove that I was taking Video of the Arrest and that the Video was IntentionaUy
 Destroyed, proving the N.Y. Penal Law § 215.40(2) Felony and Intent to Cover-Up
 the "False Arrest," a Flagrant Violation of 42 U.S.C. §1983.

       Upon beer&g taken to and arriving to Woodhuil Hospital, the Cops kept
 intimidating and making fun of me. This suggested to me that the Hospital had
 been tipped off and were going to attempt to frame me. When I get to the
 Hospital, It becomes obvious that it was a "Sham Commitment" and "Fake
 Arrest," All of the other patients were Schizophrenic, Homeless, Extreme Drug
 Addicts, Mumbling to themselves. Freaking Out, Violentfy Lunging. Platniiff
 Fernandez was just sitting their quietly, it Hooked Strange to everyone.

       When I arrive to the Hospital, they refuse to give me any Food. That ri^st„
 when I am       In my ceDI at lam,a HofpHaS Emptoyee wakes me up,turn on
 my lights and slates"rou^re Getting Mser^ed."

        When I wake up the next morning on 5/1/20, with no Food In my Stomach
 or Water to drink, the Hospital Staff immediately ask me to Give Blood. When
 they went to insert the Needle, they did it Negligently and stuck it in the wrong
 vein. This caused Fernandez immense pain and he immediately Suffered a
 Vasovagal Syncope and Passed Out failing on the Ground.Such
 Psychkrtric Harassment put him at dsk for Permanent Brain Damage due to the
 restriction of Oxygen to his Brain ffom the Syncope.

       immediately after suffering the Syncope, Plalntifff Fernandez goes to sit In
 the Common Area of the Psych Ward, Within minutes,a Violent Patient
 approaches Fernandez while he b siting(without being provoked whatscNever)
 and makes Menacing Lun^s and Threats to him. The Violent Patient tells
 Fernandez "I hate you Pussy White Boy. Give me your Fucking Chain." Fernandez
 was wearing no Chain arid had no idea who told him he had a Chain.
EXHIBIT 8: Crime Report of Police Misconduct &
    Federal Witness Tampering Made to D.A.
               The entire time the Violent Patient was making Threats to Fernandez,
  the entire Hospital Staff were watching the entire incident and Did Mottting. The
  Staff laughed at Fernandez and intentionally Made Fun of Him,suggesting they
  had been tampered with by the Police. Additionally, they intentionally brought
  the Violent Patient out of his Cell every time Fernandez entered the Common
  Area and let the Patient chase Fernandez around the Hosoital Wing.

       This Extreme Behavior by the Hospital Staff suggested that they were
 Intentionally Letting Fernandez get Assaulted, Encouraged it and that they had
  been Tampered with by the Police.

       The Threats and Menacing bv the Violent Patient finaltv bofled over and
 the Patient backed Fernandez to a Wail and then Struck Him in the Left Torso
 and Arm.The entire time,the HoMtitai Staff were watching and let it
 Only after Fernandez screamed "This is A Felony Crime." did the Staff come in and
 intervene to subdue the Violent Patient. The Violent Patient committed Felony
 Degree Assault under NY Penal Code as the Assault occurred "while being held in
 correctional facility," and with Aggravated Terroristic Threats and Menadng.

       The entire Assault was captured on Surveillance Video and is Easily
 Provable. Fernandez filled out a Police Report in the Hospital signifying he wants
 to Press Charges(See Hospital Police Report). If Charges are Not Filed,this is
 Obvious Obstruction of Justice and Intent to Cover-Up an Easily Provable Crime
 as It was all Captured on Hospital Surveillance Camera and over 20 people
 witnessed the Assault, Menadng & Terroristic Threats.
       Plaintiff Fernandez was then seen by the Hospital Physicians on 5/1/20. It
 was pretty obvious that this was a "Sham Commitment" and "Retaliation" by the
 NVPD for the WhistleBlower Suit. They let Fernandez out on 5/1/20 and did not
 Formally Diagnose Him with any Psychiatric Disorder. He was acting calm.
       Femandez will 100% be filing a Federal Civil Rights Lawsuit in the U.S.
 District Court against the NYPD and Hospital for this Incident asserting the
 following torts:(i) False Arrest & Imprisonment under 42 U.S.C. §1983,(ii)
 Deliberate Indifference in violation of the 8*" Amendment,(iii) Assault & Battery
 for the Negligent Needle Puncture and resulting Syncope and (iv) Intentional &
 Negligent Infliction of Emotional Distress given the Physical Injury that occurred.
EXHIBIT 8: Crime Report of Police Misconduct &
   Federal Witness Tampering Made to D.A.
         He asks your Office to investigate the below crimes that occurred in
   relation to this incident. He will be requesting the Surveillance and Body Cam
   Footage of the Arrest from the NYPD (which is required to keep all videos of
   arrests for 18 months)and from the Hospital to prove these crimes. He is worried
   the Police and Hospital mav be attempting to llleeallv Destroy this Surveillance
   Evidence & Cover-Uo the Crinie.

            1. Felonv Tampering with Evidence for Intentionally Deleting
                Fernandez's Video of the Incident from his Cell Phone after the
               Arrest occurred to cover-up the Corruption
            2. Federal Witness Tamoerinfl & Retaliation given the sustained,
               extreme and repetitive nature of the behavior by the NYPD against
                Fernandez in Direct Retaliation for his Federal Lawsuit
            3. Obstruction of Justice for attempting to cover up these crimes

         I implore you to take proper actions to ensure that the
   Witness Intimidation of Plaintiff Fernandez stops and that any
   Responsible Local Agents are properly prosecuted,
   reprimanded and disciplined for their immature behavior. I
   also ask that you take proper measures to ensure that Plaintiff
   Fernandez is appropriately protected as a Federal
   Whistleblower,so that he does not end up Killed or in the
   Hospital. This is a Very Serious Matter and I hope you give it
   your utmost attention and time.Thank you.


   Respectfully Submitted,




   Keith Fernandez
   If needed, please only reach out by email: kfernanSSOemail com
                                                                   EXHIBIT #9: Compensatory Damages Table
                                                                                                                                      :1yr'3 _     ,   YR3          YR4        ":YRS                  £;'v!TR7;n^';"^,:;YR8 •     _ YR9         YRIO
Anticipated Compensation of a Financial Consultat in New York Qty with a Wharton Harvard Pedigree                     $150X100      $200X)00      $250X100     $300X)00     $350X100     $400,000     $4sox)oo      s^xxn       $510,000     $551362
Earnings Potential as an Independent Contractor and Consultant after Damages                                             80X)00       90X100       100,000      llOXXX)      120,000      130,000         140X100    150X100     160,000      170,000
Annuals Earnings loss for Plaintiff Fernandez Due to Damages                                                            $70,000     $110,000      $150,000     $190,000     $230,000     $270,000     $310,000      $340,000    $350,000     $381,262
Plaintiff Femandez Discount Factor(@ 7.5% Cost of CapitaQ                                                                  0.930        0365           0305        0.749        a697         0.648          0.603      0361        a522         0.485
Present Value of Earnings Loss for Plaintif Femandez Due to Extreme Reputational Damages                                $65316       S953S7       $120,744     $142372      $160308      $174350      $186354       $190339     $182354      $184386
iNet Present Value(NpV)ofthe Earnings Loss Due to Severe Reputational Damages(yH-10) ■                $1,503,510 I
PV Terminal V^ue of the Annuity of Earnings Loss(assuming Plaintiff works untS age 70)                $2,720,862
Net Present Value(NPV)of Total Earnin^'Ldss to PlaintiffFemandci:'                                  S; S4,224;372;
Ekoectcd VakiefProbabHitv-Weii                                                                                          mail            i^teitdhB rfhisoSier                     Suit
Description „ ^                                                                     '                        YRO                                                                              YR6             YR7         YR8          YR9      YRIO
Estimate of Potential Monetary Reward to Plaintiff Femandez(Low-End)                                                                             $2,000X100
Estimated Probability of a Low-End Outcome Ocouring - Base Case                                                                                         20%
Estimated Probability of a Low-End Outcome Occuring- PF For Extreme Reputational Damages                                                                10%
Expected Value of Earnings loss for Plaintiff Fernandez - Low-End Case                                                         $0         $0      $200,000            $0           $0           $0            $0          $0           $0         $0
Estimate of Potential Monetary Reward to Plaintiff Fernandez(High-End)                                                                          $60X100X100
Estimated ProbabSity of a High-End Outcome Occuring- Base Case                                                                                          20%
Estimated Probabiltty of a High-End Outcome Occuring- PF For Extreme Reputational Damages                                                               10%
Expected Value of Earnings Loss for Plaintiff Fernandez•High-End Case                                                          $0         $0     $6,000,000           SO           $0           SO             $0         SO           $0          SO
 Midpoint of Expected Value of Earnings Lossfor Plaintiff Femandez                                                                               $3,100X00
 Plaintiff Femandez Discount Factor(@ 7.5% Cost of Capital)                                                                0.930        0.865          0.805
 Present Value of Earnings Loss for Plaintif Fernandez Due to Extreme Reputational Damages                                                       $2,495378
InpV oftiie Expected Vakie of the Earnings Loss to Pla^      Fernandez                                t$2;495^378
                                                                                                                     (1)Estimated Compensation ofa Post-MBA PE Executive with PlaintffFernandez's Pedigree comesfrom the 2018
 Net Present Value,(NPV)bif;Tbtal Eamih^'toss to Plaintiff                                                              NA Private Equity InvestmentProfessional Compertsation Survey,as weB as internal esdmates.
                                                                                                                     (2)PlainfffFemandez persartd costofcapital b calculated as hb blended costofdebton Ids Student Loans(7S96)
                                                                                                                     (3) The Terminal Value ofthe Annuity Earrdngs Lossfor Plaint^Fernandez b calculated utilizing the Present Value
                                                                                                                        ofoGrowlng Anmiity Formula over a30 year period,assuming a2% growth rate per annum and 7.5% CoC.
                                                                                                                     (4)The Termittal Vahie oftheAnrmity Earnings Lossfor PlaintiffNDS Is caladated utilizing the PVofa
 Total Damafi^s m Ptalntiffc                                                                                         Growittg Anrtuity Formula over a30 year period,assumbtg a5% growth rate per annum and 15% CoC:
 NPV ofTotal Earnings Loss to Plaintff Femandez                                                        $4324372
 NPV of Expected Value of Total Earnings Loss to Plaintff Fernandez re:Whistie-Blower Suit             $2/495,378    NPVof Growing                                                      Discount Factor       D„ =
 Emotional Distress, Medical Bills, Pain & Suffering caused by Physical Assault
  NPyjof TotaI C(§nperis"atory?
                                                                                                         $750.000    Anntdty:
                                                                                                                                               r-9     i'-(m)'                          Cadulation:
                                                                                                                                                                                                                      (1 + r)"
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                       Keith Fernandez                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
City of New York, New York City Police Department,                   )
      Officer Angelo Martino, Officer Jonathan                       )
Galindo-Sanchez, Woodhull Medical & Mental Health                    )
                      Center                                         )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Officer Jonathan Galindo-Sanchez
                                           City of New York, New York City Police Department
                                           211 Union Ave
                                           Brooklyn, NY 11211




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Keith Fernandez
                                           69 Montgomery St #331
                                           Jersey City, NJ 07302




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             05/05/2020
                                                                                          Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                       Keith Fernandez                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
City of New York, New York City Police Department,                   )
      Officer Angelo Martino, Officer Jonathan                       )
Galindo-Sanchez, Woodhull Medical & Mental Health                    )
                      Center                                         )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) City of New York, New York City Police Department
                                           211 Union Ave
                                           Brooklyn, NY 11211




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Keith Fernandez
                                           69 Montgomery St #331
                                           Jersey City, NJ 07302




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             05/05/2020
                                                                                          Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

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                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


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 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                       Keith Fernandez                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
City of New York, New York City Police Department,                   )
      Officer Angelo Martino, Officer Jonathan                       )
Galindo-Sanchez, Woodhull Medical & Mental Health                    )
                      Center                                         )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Officer Angelo Martino
                                           City of New York, New York City Police Department
                                           211 Union Ave
                                           Brooklyn, NY 11211




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Keith Fernandez
                                           69 Montgomery St #331
                                           Jersey City, NJ 07302




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             05/05/2020
                                                                                          Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


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 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                       Keith Fernandez                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
City of New York, New York City Police Department,                   )
      Officer Angelo Martino, Officer Jonathan                       )
Galindo-Sanchez, Woodhull Medical & Mental Health                    )
                      Center                                         )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Woodhull Medical & Mental Health Center
                                           760 Broadway
                                           Brooklyn, NY 11206




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Keith Fernandez
                                           69 Montgomery St #331
                                           Jersey City, NJ 07302




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             05/05/2020
                                                                                          Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


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                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
